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                    UNITED STATES DISTRICT COURT
                               FOR THE
                         DISTRICT OF VERMONT

RUMEYSA OZTURK,               )
                              )
          Petitioner,         )
                              )
     v.                       )           Case No. 2:25-cv-374
                              )
DONALD J. TRUMP, in his       )
official capacity as          )
President of the United       )
States; PATRICIA HYDE, in her )
official capacity as the New )
England Field Director for    )
U.S. Immigration and Customs )
Enforcement; MICHAEL KROL, in )
his official capacity as HSI )
New England Special Agent in )
Charge, U.S. Immigration and )
Customs Enforcement; TODD     )
LYONS, in his official        )
capacity as Acting Director, )
U.S. Immigration and Customs )
Enforcement; KRISTI NOEM, in )
her official capacity as      )
Secretary of the United       )
States Department of          )
Homeland Security; and MARCO )
RUBIO, in his official        )
capacity as Secretary of      )
State,                        )
                              )
          Respondents.        )

                                  ORDER

     The Court held a telephonic conference with counsel for

Petitioner and counsel for Respondent at 4:50pm. The Court

reaffirmed its ruling made at the bail hearing earlier on

5/9/25. In light of the Court’s finding of no risk of flight and

no danger to the community, Petitioner is to be released from
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ICE custody immediately on her own recognizance, without any

form of Body-Worn GPS or other ICE monitoring at this time.

Petitioner is not subject to any travel restrictions.

Respondent’s counsel shall submit proposed conditions of release

after conferring with ICE no later than 5/12/2025.

     DATED at Burlington, in the District of Vermont, this 9th

day of May 2025.

                                          /s/ William K. Sessions III
                                          Hon. William K. Sessions III
                                          U.S. District Court Judge




                                    2
